Case 1:10-cv-10476-DPW Document 1-2 Filed 03/19/10 Page 1 of 1

&JS 44 (Rev. 12/07)

by local rules of court. This form, approved by the Judicial Conference o the United States in September 1974, is required for the use of t

CIVIL COVER SHEET

The JS 44 civil cover shect and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided

the civil docket shect, (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

¢ Clerk of Court for the purpose of initiating

I. (a) PLAINTIFFS
Exergen Corporation

(b) County of Residence of First Listed Plaintiff Middlesex County

DEFENDANTS

Kidz-Med, Inc.

(EXCEPT IN U.S. PLAINTIFF CASES)

(ce) Attorney's (Firm Name, Address, and Telephone Number)
Kerry L. Timbers, Robert M. Asher, Meredith L. Ainbinder

Sunstein Kann Murphy & Timbers LLP

125 Summer Street, Boston, MA 02110-1618

(617) 443,9292

Attorneys (If Known)

American Scientific Resources, Inc.

County of Residence of First Listed Defendant

(IN U.S, PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOLVED.

Il. BASIS OF JURISDICTION

(Place an “X" in One Box Only)

(For Diversity Cases Only)

Wl. CITIZENSHIP OF PRINCIPAL PARTIES@ ince an "X” in One Box for Plaintiff

and One Box for Defendant)

Of U.S. Government BI 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State Ot 1 (Incorporated or Principal Place o4 04
. of Business In This State
2 U.S. Government 1 4 Diversity Citizen of Another State 1 2 © 2.  Incorpomted and Principal Place Os 05
Defendant (Indicate Citizenship of Parties in Item TI) of Business In Another State
Citizen or Subject of a 3 € 3. Foreign Nation 06 O86
Foreign Country
IV. NATURE OF SUIT (Place an OX" in One Box Only) os
: CONTRACT: z = ss TORTS: ose foc FORELITURE/PENALTY <i BANKRUPTCY. OTHER STATUTES ~. ]
(1 110 Insurance PERSONAL INJURY PERSONAL INJURY [J 610 Agriculture 2) 422 Appeal 28 USC 158 (400 State Reapportionment
CF 120 Marine C} 310 Airplane C) 362 Personal Injury - £3 620 Other Food & Drug (3 423 Withdrawal [410 Antitrust
C130 Miller Act C} 315 Airplane Product Med, Malpractice 0) 625 Drug Related Seizure 28 USC 157 O 430 Banks and Banking
G 140 Negotiable Instrument Liability (1 365 Personal Injury - of Property 21 USC 881 [1 450 Commerce
1} 150 Recovery of Overpayment {0 320 Assault, Libel & Product Liability 1 630 Liquor Laws “PROPER: {0 460 Deponation
& Enforcement of Judgment! Slander TJ 368 Asbestos Personal 1 640 RR, & Truck (9 820 Copyrights C) 470 Racketeer Influenced and
CF 151 Medicare Act {J 330 Federal Employers’ Injury Product {J 650 Airline Regs. (J 830 Patent Corrupt Organizations
© 152 Recovery of Defaulted Liability Liability 0 660 Occupational C3 840 Trademark 480 Consumer Credit
Student Loans © 340 Marine PERSONAL PROPERTY Salety/Health C1 490 Cable/Sat TV
(Exel. Veterans) C} 345 Marine Product J 370 Other Froud (C3 690 Other ©) 810 Selective Service
(7 153 Recovery of Overpayment Liability 371 Truth in Lending Red eS UA BOR. “SOCIAL: | SAC) 850 Securities/Commodities/
of Veteran's Benefits © 350 Motor Vehicle {} 380 Other Personal C3 710 Fair Labor Standards (3 86) HIA (1395f) Exchange
(1) 160 Stockholders’ Suits © 355 Motor Vehicle Properly Damage Act C3 862 Black Lung (923) C} 875 Customer Challenge
0 190 Other Contract Product Liability {} 385 Property Damage £3 720 Labor/Mgmt, Relations [0 863 DIWC/DIWW (405(g)) 12 USC 3410
{J 195 Contract Product Liability [7 360 Other Personal Product Liability [3 730 Labor/Mgmt.Reporting {C864 SSID Title XVI [XJ 890 Other Statutory Actions
0) 196 Franchise Inj & Disclosure Act C) 865 RSI (405(p)) © 891 Agricultural Acts
AL: ; (J 740 Railway Labor Act ee FEDERAL TAX SUITS:10) 892 E ic Stabili: Act
O 210 Land Condemnation (OO 441 Voting [J 510 Motions to Vacate {0 790 Other Labor Litigation CI 870 Taxes (U.S. Plaintiff 893 Environmental Matters
(3 220 Foreclosure [J 442 Employment Sentence CJ 791 Empl. Ret. Inc. or Defendant) 1 894 Energy Allocation Act
(J 230 Rent Lease & Ejectment [7 443 Housing/ Habeas Corpus: Security Act © 871 IRS—-Third Party 895 Freedom of Information
( 240 Torts to Land Accommodations [J 530 General 26 USC 7609 Act
() 245 Tort Product Liability © 444 Welfare } 535 Death Penalty 2c IMMIGRATION 22s C) 900Appeal of Fee Determination
© 290 Ail Other Real Property |) 445 Amer. w/Disabilities - J 540 Mandamus & Other [J 462 Naturalization Application Under Equal Access
Employment i} 550 Civil Rights &) 463 Habeas Corpus - to Justice
C) 446 Amer. w/Disabilities - [73 555 Prison Condition Alien Detainee OC 950 Constitutionality of
Other [1 465 Other Immigration State Statutes
440 Other Civil Rights Actions

V. ORIGIN (Ploce an “X" in One Box Only) . Appeal to District
&10 Original C) 2 Removed from C} 3. Remanded from CH 4 Reinstatedor CJ 5 Transferred from V6 Multidistrict =O 7 judge from
Proceeding State Court Appellate Court Reopened (specify) ‘siti Litigation jude ent

Cite the U.S, Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

15 U.S.C, 1125(a)

VI. CAUSE OF ACTION

Brief description of cause:

false advertising

VH. REQUESTED IN = (J CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER F.R.C.P. 23 JURY DEMAND: [Yes 0 No
VHT. RELATED CASE(S) | oo
IF ANY Seeinsictions: — yDGE Douglas P. Woodlock DOCKET NUMBER 1:08-cv-11416

DATE

March 14, AOIO

SIGN

Go)

"FOR OFFICE USE ONLY

RECEIPT # AMOUNT

U/

APPLYING IFP

OF ATTORNEY OERG ZORD
— ~
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JUDGE

MAG. JUDGE

